     Case 6:21-cv-00016 Document 196 Filed on 02/21/22 in TXSD Page 1 of 3




                       UNITED STATES DISTRICT COURT
                   FOR THE SOUTHERN DISTRICT OF TEXAS
                              VICTORIA DIVISION
       __________________________________________
                                                  )
       STATE OF TEXAS, STATE OF                   )
       LOUISIANA                                  )
                                                  )
                               Plaintiffs,        )
             v.                                   ) No. 6:21-cv-00016
                                                  )
       UNITED STATES OF AMERICA, et al.           )
                                                  )
                               Defendants.        )
       __________________________________________)

                                 DEFENDANTS’ ADVISORY
       The States have claimed that the Fifth Circuit’s decision in Texas v. Biden, 20 F.4th 928

(5th Cir. 2021), “addresses many issues relevant to those pending before the Court” in this case.

Pls.’ Notice of Suppl. Authority (ECF No. 167); see Pls.’ Proposed Findings of Fact and

Conclusions of Law (ECF No. 194) (citing Texas throughout); see also Defs.’ Resp. (ECF TK)

(addressing the States’ Notice of Supplemental Authority).

       Defendants provide notice that the Supreme Court has granted the government’s petition

for writ of certiorari in Texas and scheduled argument for the Court’s April 2022 argument session.

See Order, Biden v. Texas, No. 21-954 (Feb. 18, 2022).



Dated: February 21, 2022                     Respectfully submitted,

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                                             Principal Deputy Assistant Attorney General


                                             BRIGHAM J. BOWEN
                                             Assistant Branch Director

                                              /s/ Adam D. Kirschner
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Case 6:21-cv-00016 Document 196 Filed on 02/21/22 in TXSD Page 2 of 3




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                                     2
    Case 6:21-cv-00016 Document 196 Filed on 02/21/22 in TXSD Page 3 of 3




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                               CERTIFICATE OF SERVICE

      I certify that a true and accurate copy of the foregoing document was filed electronically

(via CM/ECF) on February 21, 2022.


                                                   /s/ Adam D. Kirschner
                                                   ADAM D. KIRSCHNER




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